               Case 1:21-cr-00503-RCL Document 37 Filed 01/27/22 Page 1 of 2




                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                Case No.: 1:21-cr-00503-RCL-1


                          v.
                                                         MOTION TO MODIFY CONDITIONS
                                                         OF RELEASE TO PERMIT
GLENN ALLEN BROOKS                                       INTERNATIONAL TRAVEL

                                 Defendant.


                                    COMES NOW, Glenn Allen Brooks, through counsel, Joseph R.

Conte, to respectfully request this honorable court to amend his conditions of

release to permit him to travel to Pignon Haiti for humanitarian purposes from

February 17, 2022 to February 22, 2022. As grounds for this motion counsel would

state:

                        1. The defendant is on release and prohibited from international

travel absent leave of the court.

                        2. The defendant wishes to travel to Pignon, Haiti for humanitarian

purposes from February 17 to February 22, 2022.

                        3. The court previously granted the defendant’s first motion for travel

to Haiti and that trip ended without incident.

                        4. Undersigned has spoken to government counsel who has advised

counsel that the government takes no position with respect to this motion.


 United States v. Glenn Allen Brooks                                  Joseph R. Conte
 Case #1:21-cr-00503-RCL-1                                            400 Seventh St., N.W., #206
 Motion to Modify Conditions of Release to Permit                     Washington, D.C. 20004
 International Travel                                                 Phone: 202.638.4100
 Page No. 1                                                           Email: dcgunlaw@gmail.com

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                       WHEREFORE counsel respectfully requests that this motion be

granted.

Dated: January 27, 2022

                                                          Respectfully submitted,

                                                   Joseph R.         Digitally signed by Joseph R.
                                                                     Conte

                                                   Conte___________________________
                                                                     Date: 2022.01.27 06:44:00
                                                                     -05'00'
                                                          Joseph R. Conte, Bar #366827
                                                          Counsel for Glenn Allen Brooks
                                                          Law Office of J.R. Conte
                                                          400 Seventh St., N.W., #206
                                                          Washington, D.C. 20004
                                                          Phone:202.638.4100
                                                          Fax:         202.628.0249
                                                          E-mail:      dcgunlaw@gmail.com




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